Case 6:22-cr-00007-JCB-KNM Document 30 Filed 06/24/22 Page 1 of 2 PageID #: 120




                                      No. 6:22-cr-00007

                                 United States of America
                                            v.
                                  Derek Robert Hamm


                                         ORDER

                 This criminal action was referred to United States Magistrate
             Judge K. Nicole Mitchell for administration of a guilty plea under
             Federal Rule of Criminal Procedure 11. The magistrate judge con-
             ducted a hearing in the form and manner prescribed by Rule 11 and
             issued findings of fact and recommendation on guilty plea. Doc. 29.
             The magistrate judge recommended that the court accept defend-
             ant’s guilty plea and adjudge defendant guilty on counts one, two,
             fourteen, sixteen, seventeen, and thirty-two of the indictment. Id.
             Defendant waived his right to object to the magistrate judge’s find-
             ings. Id. at 2.
                 The court hereby accepts the findings of fact and recommenda-
             tion on guilty plea of the United States Magistrate Judge. The court
             also accepts defendant’s plea but defers acceptance of the plea
             agreement until after review of the presentence report.
                 In accordance with defendant’s guilty plea, the court finds de-
             fendant Derek Robert Hamm guilty of: counts one and two of the
             indictment, charging violations of 18 U.S.C. § 1343 – Wire Fraud;
             count fourteen of the indictment, charging a violation of 18 U.S.C.
             § 498 – Use of a Forged Military Discharge Certificate; count six-
             teen of the indictment, charging a violation of 18 U.S.C. § 704(b) –
             Fraudulently Holding Oneself out to be a Recipient of Military Med-
             als or Decorations; count seventeen of the indictment, charging a
             violation of 18 U.S.C. § 1957 – Engaging in a Monetary Transaction
             with Criminally Derived Property; and count thirty-two of the in-
             dictment, charging a violation of 18 U.S.C. § 922(g)(1) – Felon in
             Possession of a Firearm and Ammunition.
Case 6:22-cr-00007-JCB-KNM Document 30 Filed 06/24/22 Page 2 of 2 PageID #: 121




                                   So ordered by the court on June 24, 2022.



                                            J. C AMPBELL B ARKER
                                            United States District Judge




                                      -2-
